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                 UNITED STATES COURT OF INTERNATIONAL TRADE


                                                    )
ADEE HONEY FARMS, et al.,                           )
                                                    )
                              Plaintiffs,           )
                                                    )
                      v.                            )       Consol. Court No. 16-00127
                                                    )
UNITED STATES, et al.,                              )
                                                    )
                              Defendants.           )
                                                    )

                                    NOTICE OF APPEAL

       Notice is hereby given that Monterey Mushrooms, Inc., consolidated plaintiff in the

above-captioned action, hereby appeals to the United States Court of Appeals for the Federal

Circuit from the final judgment and order entered in this action on June 16, 2022.



                                             Respectfully submitted,

                                             /s/ Adam H. Gordon
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